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lN THE UN|TED STATES D|STM§§A§£:§W:D;T COUHT

L.AS CF{UCE:"`E::"`1 NEW MEXICO
FOR THE DlSTR|CT OF NEW N|EX|CO

MAY 2 2 ?.UUB

n/

MATTH EW ._l. DYKMAN
CL ERK
NO. CR 07-'1927 BB

uNiTED sTATEs oi= AMERicA,
Piainm‘r,
VS.

ALONSO P. GRADO,

`-_/\_r¢'\\_/`_/`-_/`\_/\\_r*‘\-J`_/

Defendant.

PLEA AGREEMENT

Pursuant to Rule 11, -Fed. R. Crim. P., the parties hereby notify the Court of the
following agreement between the United States Attorney forthe District of New lVlexico, the
defendant, ALONSO P. GRADO, and the defendant's counsel, JAl\/lES LANGELL:

REPRESENTAT|ON BY COUNSEL

1. The defendant understands the defendant's right to be represented by an
attorney and is so representedl The defendant has thoroughly reviewed all aspects of this '
case With the defendant's attorney and is fully satisfied with that attorney's legal
representation

RlGHTS OF THE DEFENDANT

 

2._ The defendant further understands the following rights:
a. to be charged and prosecuted by indictment
b. to plead not guilty;
c. to have a trial byjury;

d. to confront and cross-examine witnesses and ton call witnesses to
testify for the defense; and `

e. against compelled self-incrimination

 

 

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WA|VER OF RlGHTS AND PLEA OF GU|LTY
3. The defendant hereby agrees to Waive these rights and to plead guilty to a
two count information to be filed charging in Count ‘l a violation of 21 U.S.C. § 846, that
being Conspiracy; and charging in Count 2 a violation of 21 U.S.C. §§ 841(a)(1) and
841(b)('l)(B), that being possession with intent to distribute 5 grams and more of

methamphetamine and 18 U.S.C. § 2, that being aiding and abetting

SENTENC|NG
4. The defendant understands thatthe maximum penalty the Court can impose
as to each count is:
a. imprisonment fora period of not less than five (5) years nor more than
forty (40) years;

b. a fine not to exceed $2,000,000;

c. a mandatory term of supervised release of at least four (4) years (lf
the defendant serves a term of imprisonment, is then released on
supervised release, and violates the conditions ofsupervised release,
the defendants supervised release could be revoked--even on the
last day of the term--and the defendant could then be returned to
another period of incarceration and a new term of supervised

release);
d. a mandatory special penalty assessment of $100.00.
5. The parties recognize that the Sentencing Guidelines are advisory, and that

the Court is required to consider them in determining the sentence it imposes.
6. lt is expressly understood and agreed by and between the defendant and the
United States that:
a. The United States has made, and will make, NO AGREE|V|ENT
pursuant to Rule 11(c)(1)(C), Fed. R. Crim. P., that a specific sentence is the appropriate

disposition of this case

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. b. The United States has made and Will make NO AGREE|V|ENT to
approve to oppose or not to oppose pursuant to Rule 11(c)(1)(B), Fed. R. Crim. P., any
request made by the defendant or on behalf of the defendant for a particular sentence in
this case other than the stipulations agreed to in paragraph 7, below.

c. The United States hereby expressly reserves the right to make known
to the United States Probation Office, for inclusion in the presentence report prepared
pursuant to Rule 32(0), Fed. R. Crim. P., any information that the United States beiieves
may be helpful to the Court.

d. The defendant recognizes that this plea agreement has already
conferred a benefit upon the defendant and that no downward departure is appropriate
Consequently, in return for the benefit conferred on the defendant by entering into this
agreement the defendant agrees not to seek a downward departure or "adiustment" from
the applicable offense level or criminal history category as determined by the Court. This
specifically precludes any claim by the defendant pursuant to U.S.S.G. § 4A1 .3, that the
criminal history category overstates the seriousness of defendant's criminal history. The
defendant agrees that the advisory guideline range as determined by the agreed upon
stipulations is reasonable in light of 18 U.S.C. § 3553 and US v. Booker, 543 U.S. 220
(2005). The defendant agrees not to seek a sentence below the advisory guideline range.
lf the defendant in violation of this paragraph, should nevertheless seek a downward
departure or adjustment the United States reserves the right in its sole discretion, to
Withdraw this plea agreement and to proceed to trial on all charges before the Court.

ST|PULAT|ONS
7. - The United States and the defendant stipulate as follows:
a. Pursuant to U.S.S.G. § 2D1.1(c), the parties stipulate that the

defendant is responsible for approximately 49 pure grams of methamphetamine

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b. Pursuant to U.S.S.G. § 3E1.1(a), the defendant has clearly
demonstrated a recognition and affirmative acceptance of personal responsibility forthe
defendant's criminal conductl Consequentfy, the defendant is entitled to a reduction of
two (2) levels from the base offense level as calculated under the sentencing guidelines
This reduction is contingent upon the defendant providing an appropriate oral or Written
statement to the United States Probation officer who prepares the presentence report in
this case in Which the defendant clearly-establishes the defendant's entitlement to this
reduction.

c. Provided the defendant meets the requirements of U.S.S.G.
§3E1.1(b), the government agrees to move fora reduction of one (1) additional level from
the base offense level as calculated under the sentencing guidelines '

d. The defendant possessed a "dangerous Weapon" (to wit. a firearm)

_and is responsible for an increase of two (2) levels pursuant to U.S.S.G. § 2D1.1(b)(1).

e. . The defendant possessed a firearm in connection with the offense for
purposes of U.S.S.G. § 5C1.2(A)(2).

8. The defendant recognizes and understandsthat this plea agreement with the
United States is expressly contingent on the defendant's co-defendants, Elsa A.
Denogean, Raul Palmer and Rudy Jake Garcia-Acosta also-entering a plea of guilty in
conformity with their plea agreements With the United States. The United States reserves
the right in its sole discretion, to revoke the plea agreements pertaining to the defendant l
and co-defendants, should the defendant and co-defendants fail to enter guilty pleas in
accordance with their individuai agreements with the United States, or attempt to withdraw
those guilty pleas.

9. The United States and the defendant understand that the above stipulations

are not binding on the Court and that whether the Court accepts these stipulations is a

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matter solely Within the discretion oft_he Court after it has reviewed the presentence report.
The defendant understands and agrees that ifthe Court does not accept any one or more
of the above stipulationsl the defendant hereby waives the right to appeal the Court's
rejection of such stipulations
DEFENDANT'S OBLlGAT|ONS
'10. The defendant understands the defendants obligation to provide the United
States Probation Office with truthful, accurate and complete information concerning the
defendant's true identity, citizenship status, and any prior criminal convictions The
defendant hereby represents that the defendant has complied with and will continue to
comply with this obligation The defendant understands that any misrepresentation with
respect to the above obligations may be considered a breach of this piea agreement
WA|VER OF APPEAL RlGHTS
11. The defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford
a defendant the right to appeal a conviction and the sentence imposed. Acknowledging
that the defendant knowingly waives the right to appeal this conviction and/or any
sentence within the statutory maximum authorized by law. ln addition, the defendant
agrees to waive any collateral attack to this conviction and/or sentence pursuant to 28
U.S.C. § 2255, except on the issue of ineffective assistance of counsel.
GOVERNMENT‘S AGREEMENT
12. Provided that the defendant fulfills the defendant's obligations as set out
above the United States agrees not to bring additional charges against the defendant ‘

arising out of the defendant's conduct now known to the United States Attorney`s Office for

the District of NeW l`vtexico. ln addition, the United States agrees to dismiss the

 

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Superseding indictment filed October19, 2007. lVloreover, an enhancement pursuant to
21 U.S.C. § 851 will not be filed for defendant's prior conviction

13. n This agreement is limited to the United StatesAttorney's Office forthe District
of New Nlexico and does not bind any otherfederal, state or local agencies or prosecuting
authorities

VOLUN'|?ARY PLEA

14. The defendant agrees and represents that this plea of guilty is freely and
voluntarily made and not the result of force or threats or of promises apart from those set
forth in this plea agreement There have been no representations or promises from anyone
as to what sentence the Court will impose

VlOLATlON OF PLEA AGREEN|ENT

 

15. The defendant understands and agrees that if the defendant or the
defendant's attorney violates any provision of this plea agreement the United States may
declare this plea agreement null and void, and the defendant will thereafter be subject to
prosecution for any criminal violation including, but not limited to, any crime(s)oroffense(s)
contained in or related to the information filed in this case as well as perjury, false
statement and obstruction ofjustice.

SPEC|AL ASSESSMENT

16. Atthe time of sentencing, the defendant will tendera money order or certified
check payable to the order of the United States District Court, District of New Nlexico, 333
Lomas Boulevard, NW, Albuquerque, New lVlexico 87102, in the amount of $200.00 in

payment of the special penalty assessment described abovel

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ENTIRETY OF AGREEMENT
17. This document is a complete statement of the agreement in this case and

may not be altered unless done so in writing and signed by all parties

AcREED To A_No sicNED this 23 /day of m A-'? ,2003.

 

GREGORY FOURATT
United States Attorney

GREGORY B. WOR|V|UTH
Assistant U.S. Attorney

555 S. Telshor Blvd., Ste. 300
Las Cruces, Nl\/l 88011

(575) 522-2304 - Tei.
(575) 522-2391 - Fax

l have read this agreement and carefully reviewed every part of it with my attorney.
l understand the agreement and voluntarily sign it.

stronso P. GRAoo
Defendant

 

JAMES*CANGELL

Attor_ney for Defendant

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